           Case 1:16-vv-00818-UNJ Document 34 Filed 12/08/17 Page 1 of 3




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0818V
                                      Filed: April 20, 2017
                                          Unpublished

****************************
DAVID PALMIERI,             *
                            *
                Petitioner, *
v.                          *
                            *                              Attorneys’ Fees and Costs;
SECRETARY OF HEALTH         *                              Special Processing Unit (“SPU”)
AND HUMAN SERVICES,         *
                            *
                Respondent. *
                                                  *
****************************
Carol L. Gallagher, Esq., LLC, Linwood, NJ, for petitioner.
Adriana R. Teitel, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

        On July 8, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleged that he suffered a shoulder injury/rotator cuff tear as a
consequence of receiving the quadrivalent influenza (“flu”) vaccine on October 1, 2015.
On March 8, 2017, the undersigned issued a decision awarding compensation to
petitioner based on the parties’ joint stipulation. (ECF No. 22).

       On March 30, 2017, petitioner filed a motion for attorneys’ fees and costs. (ECF
No. 26). Petitioner requests attorneys’ fees in the amount of $25,465.10 and attorneys’
costs in the amount of $750.46 for a total amount of $26,215.56. (ECF No. 27-1). The

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the

undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
            Case 1:16-vv-00818-UNJ Document 34 Filed 12/08/17 Page 2 of 3



foregoing fees and costs include those requested on behalf of the Maglio Christopher &
Toale law firm, which incurred $2,469.40 in fees and $230.46 in costs prior to the
petition being filed by Ms. Gallagher. Id. In compliance with General Order #9,
petitioner has filed a signed statement indicating that he incurred no out-of-pocket
expenses. (ECF No. 26-8).

        On April 17, 2017, respondent filed a response to petitioner’s motion. (ECF No.
28). Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13
contemplates any role for respondent in the resolution of a request by a petitioner for an
award of attorneys’ fees and costs.” Id. at 1. Respondent adds, however, that he “is
satisfied the statutory requirements for an award of attorneys’ fees and costs are met in
this case.” Id. at 2. Respondent “respectfully recommends that the Chief Special
Master exercise her discretion and determine a reasonable award for attorneys’ fees
and costs.” Id. at 3. On April 18, 2017, petitioner filed a reply. (ECF No. 29).

       The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested rates; however, the undersigned
reduces Ms. Gallagher’s requested hours by 1.4 for her billing of “Future Time.”3 Billing
for work not performed is prohibited. This amounts to a deduction of $508.20. 4

      The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request, the undersigned
GRANTS petitioner’s motion for attorneys’ fees and costs, with the noted deduction.

          Accordingly, the undersigned awards a total of $25,707.36 5 as follows:

          (1) A lump sum of $23,007.50, representing reimbursement for attorneys’
              fees and costs to his current counsel, in the form of a check jointly
              payable to petitioner and petitioner’s current counsel, Carol L.
              Gallagher; and

          (2) A lump sum of $2,699.86, representing reimbursement for attorneys’
              fees and costs to his former counsel, in the form of a check jointly
              payable to petitioner and petitioner’s former counsel, the law firm of
              Maglio Christopher & Toale.

3   See ECF No. 26-1 at 9.

4   1.4 x $363.00 = $508.20.

5This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
                                                    2
           Case 1:16-vv-00818-UNJ Document 34 Filed 12/08/17 Page 3 of 3




        The clerk of the court shall enter judgment in accordance herewith. 6

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




6 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
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